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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

GERRY RANSON,

      Plaintiff,

v.                                         Case No.: 4:21cv392-MW/MAF

FIRST NATIONAL BANK, et al.,

     Defendants.
___________________________/

                        ORDER ACCEPTING AND ADOPTING
                         REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 4. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation, ECF No. 4, is accepted and adopted as this

Court’s opinion. The Clerk shall enter judgment stating, “Plaintiff’s claims are

DISMISSED for failure to prosecute and failure to comply with a court order.” The

Clerk shall close the file.

      SO ORDERED on December 2, 2021.

                                     s/Mark E. Walker
                                     Chief United States District Judge
